Case 1:20-cv-00123-JRS-MG Document 86 Filed 09/07/21 Page 1 of 2 PageID #: 1192
    Case: 21-2018    Document: 00713873372     Filed: 09/07/2021  Pages: 1      (2 of 2)



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


         Everett McKinley Dirksen
                                                                                  Office of the Clerk
         United States Courthouse
                                                                                 Phone: (312) 435-5850
      Room 2722 - 219 S. Dearborn Street
                                                                                 www.ca7.uscourts.gov
           Chicago, Illinois 60604




                                       NOTICE OF ISSUANCE OF MANDATE
 September 7, 2021


  To: Roger A. G. Sharpe
      UNITED STATES DISTRICT COURT
      Southern District of Indiana
      United States Courthouse
      Indianapolis, IN 46204-0000
                                      JOHN DOE,
                                              Plaintiff - Appellant

 No. 21-2018                          v.

                                      TRUSTEES OF INDIANA UNIVERSITY, et al.,
                                               Defendants - Appellees
 Originating Case Information:
 District Court No: 1:20-cv-00123-JRS-MG
 Southern District of Indiana, Indianapolis Division
 District Judge James R. Sweeney


 Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
 certified copy of the opinion/order of the court and judgment, if any, and any direction as to
 costs shall constitute the mandate.

 TYPE OF DISMISSAL:                                                   F.R.A.P. 42(b)

 STATUS OF THE RECORD:                                                no record to be returned



 form name: c7_Mandate       (form ID: 135)
Case 1:20-cv-00123-JRS-MG Document 86 Filed 09/07/21 Page 2 of 2 PageID #: 1193
    Case: 21-2018    Document: 00713873371     Filed: 09/07/2021  Pages: 1      (1 of 2)



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


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 September 7, 2021

 By the Court:

                                      JOHN DOE,
                                              Plaintiff - Appellant

 No. 21-2018                          v.

                                      TRUSTEES OF INDIANA UNIVERSITY, et al.,
                                               Defendants - Appellees
 Originating Case Information:
 District Court No: 1:20-cv-00123-JRS-MG
 Southern District of Indiana, Indianapolis Division
 District Judge James R. Sweeney


 Upon consideration of the motion to dismiss case pursuant to FRAP 42(b), filed by Appellant
 John Doe, on September 4, 2021,

 IT IS ORDERED that this case is DISMISSED, pursuant to Federal Rule of Appellate
 Procedure 42(b).


 form name: c7_FinalOrderWMandate          (form ID: 137)
